
18 N.Y.2d 612 (1966)
In the Matter of John G. Dow, Appellant,
v.
John P. Lomenzo, as Secretary of State of the State of New York, Respondent.
Court of Appeals of the State of New York.
Argued July 6, 1966.
Decided July 7, 1966.
L. Rissier Wallach for appellant.
Louis J. Lefkowitz, Attorney-General (Walter J. Hogan and Ruth Kessler Toch of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING.
Order affirmed, without costs; no opinion. [See 18 N Y 2d 853.]
